    Case 22-60043 Document 104-3 Filed in TXSB on 08/25/22 Page 1 of 10




               IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

IN RE:                            §           Case No. 22-60043
                                  §
FREE SPEECH SYSTEMS, LLC,         §           Chapter 11 (Subchapter V)
                                  §
     Debtor.                      §




                    EXHIBIT J
     Case 22-60043
           Case 21-11001-JTD
                    Document 104-3
                              Doc 130
                                   FiledFiled
                                         in TXSB
                                              08/10/21
                                                  on 08/25/22
                                                         Page 1Page
                                                                of 662 of 10



1                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE
2
                                       .            Chapter 11
3      IN RE:                          .
                                       .            Case No. 21-11001 (JTD)
4
       SHARITY MINISTRIES, INC.,       .
5                                      .            Courtroom No. 5
                                       .            824 Market Street
6                                      .            Wilmington, Delaware 19801
                                       .
7                        Debtor.       .            August 9, 2021
       . . . . . . . . . . . . . . . . .            10:00 A.M.
8
                          TRANSCRIPT OF TELEPHONIC HEARING
9                       BEFORE THE HONORABLE JOHN T. DORSEY
                           UNITED STATES BANKRUPTCY JUDGE
10

11
       TELEPHONIC APPEARANCES:
12
       For the Debtor:                Adam G. Landis, Esquire
13                                    Matthew B. McGuire, Esquire
                                      Nicolas E. Jenner, Esquire
14                                    LANDIS RATH & COBB LLP
                                      919 Market Street, Suite 1800
15                                    Wilmington, Delaware 19801

16                                    - and -

17                                    Jorian L. Rose, Esquire
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       Proceedings recorded by electronic sound recording, transcript
25     produced by transcription service.
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           Case 21-11001-JTD
                    Document 104-3
                              Doc 130
                                   FiledFiled
                                         in TXSB
                                              08/10/21
                                                  on 08/25/22
                                                         Page 2Page
                                                                of 663 of 10



1      TELEPHONIC APPEARANCES (Cont’d):

2      For the U.S. Trustee:          Rosa Sierra, Esquire
                                      UNITED STATES DEPARTMENT OF JUSTICE
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6      For the State of Texas:        Abigail Ryan, Esquire
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7                                     300 W. 15th Street
                                      Floor 8, Bankruptcy & Collections
8                                     Austin, Texas 78701

9      For State Attorneys            Karen Cordry, Esquire
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                                      Washington, DC 20036
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       For AlieraCare                 Joseph Huston, Esquire
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16                                    Eleanor Hamburger, Esquire
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                                      Seattle, Washington 98121
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     Case 22-60043
           Case 21-11001-JTD
                    Document 104-3
                              Doc 130
                                   FiledFiled
                                         in TXSB
                                              08/10/21
                                                  on 08/25/22
                                                         Page 3Page
                                                                of 664 of 10



1      MATTER GOING FORWARD:

2      11. United States Trustee’s Motion to Remove the Debtor-In-
       Possession Pursuant to 11 U.S.C. Section 1185, or
3      Alternatively, Motion to Authorize the Subchapter V Trustee to
       Investigate the Debtor’s Financial Affairs Pursuant to 11
4      U.S.C. Section 1185 [D.I. 68; Filed on 7/22/21]

5      CLOSING ARGUMENTS:

6           By Ms. Sierra             6

7           By Ms. Hamburger          19

8           By Ms. Ryan               24

9           By Ms. Cordry             26

10          By Mr. Rose               31

11
            Ruling:    60
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     Case 22-60043
          Case 21-11001-JTD
                    Document 104-3
                              Doc 130
                                    FiledFiled
                                          in TXSB
                                               08/10/21
                                                   on 08/25/22
                                                         Page 60Page
                                                                 of 665 of 10
                                                                                60


1      have Mrs. Miller in place, looking at any causes of action,

2      looking at the members payments that came in and the share

3      requests that need to be paid, I believe that is in the best

4      interests of the members as this bankruptcy is winding down.

5                    And I am finished for now, Your Honor, unless you

6      have any questions.

7                    THE COURT:     No questions.      Thank you, Ms. Ryan.

8                    All right, I'm going to take a short recess until

9      noon and then I will come back and let you know what we're

10     going to do.      So we'll stand in recess until 12 o'clock.

11             (Recess taken at 11:43 a.m.)

12             (Proceedings resumed at 12:05 p.m.)

13                   THE COURT:     Can everyone hear me okay?          All right.

14                   COUNSEL:     Yes, Your Honor.

15                   THE COURT:     We are back on the record.

16                   Clearly, this case is highly unusual, to say the

17     least, and, as Mr. Luria stated during his testimony, it's a

18     mess.    The paramount issue for this case is clearly how the

19     members are going to be treated and I think it is important

20     that those members have a voice in how they are going to be

21     treated without individual members having to incur the costs

22     of doing so.

23                   So, number one, I am going to direct the

24     appointment of a member committee.            Ms. Sierra, how long do

25     you think it would take to get that accomplished?
     Case 22-60043
          Case 21-11001-JTD
                    Document 104-3
                              Doc 130
                                    FiledFiled
                                          in TXSB
                                               08/10/21
                                                   on 08/25/22
                                                         Page 61Page
                                                                 of 666 of 10
                                                                                61


1                    MS. SIERRA:     Your Honor, Rosa Sierra on behalf of

2      the U.S. Trustee.       I believe I have contact information from

3      various members that were present at the 341 meeting.

4      Without overpromising, I think a week just to contact them

5      and then to confer with my client.

6                    THE COURT:     All right.     Well, we'll -- at the end

7      of this I'm going to say we're going to set a hearing for --

8      a further hearing on this.         I want to keep this on a tight

9      schedule, so I will have another hearing in very short order

10     here.

11                   At this point in the case, I don't have concerns

12     that Mr. Luria, the CRO, is an independent professional

13     working to ensure that this case moves forward in an

14     expedited fashion.       I have some concerns that perhaps he was

15     not provided information by the debtors that he should have

16     received or that the debtors did not move quickly to try to

17     get that information from Aliera, as has been set forth in

18     the evidence during this hearing.           Mr. Luria has taken steps

19     to collect the debtor's data and to provide it in a usable

20     format, and I think it's important that we not lose that

21     knowledge or the time that he has spent in preparing to get

22     that data in a usable format.

23                   Clearly, there's significant issues involving how

24     the company was managed prepetition and there's open

25     questions about how the case has progressed to date, but
     Case 22-60043
          Case 21-11001-JTD
                    Document 104-3
                              Doc 130
                                    FiledFiled
                                          in TXSB
                                               08/10/21
                                                   on 08/25/22
                                                         Page 62Page
                                                                 of 667 of 10
                                                                                62


1      while reasonable people might disagree with the way the case

2      has moved so far, I'm not yet prepared to remove the debtors

3      as debtor-in-possession.         I am going to -- I'm not going to

4      deny the motion at this point either, I'm going to hold that

5      motion in abeyance for now until we see how things move over

6      the next few weeks.

7                    I am going to increase the powers of the

8      Subchapter V trustee to investigate the financial affairs of

9      the debtor.     That will include working closely with Mr. Luria

10     to see how the data migration is progressing.               And I would

11     expect Mr. Luria to keep the Sub V trustee fully informed on

12     that process, how it's working and how eventually that data

13     will be used by a liquidating trustee in the future.                She

14     will also have the power to investigate whether the debtors

15     are eligible for Subchapter V status and whether or not

16     current employees of the debtors, because I have a number of

17     employees but, frankly, I have no testimony about what they

18     do or why they're needed.         So I would ask Ms. Miller to

19     investigate as a part of the investigation of the financial

20     affairs of the company whether those employees are necessary

21     or not to the operations of the debtors at this point given

22     where this case is heading and whether we can save some money

23     by eliminating those positions if they're no longer needed.

24                   She also -- I would also ask Ms. Miller to give me

25     some guidance once you've had the opportunity to conduct an
     Case 22-60043
          Case 21-11001-JTD
                    Document 104-3
                              Doc 130
                                    FiledFiled
                                          in TXSB
                                               08/10/21
                                                   on 08/25/22
                                                         Page 63Page
                                                                 of 668 of 10
                                                                                63


1      investigation and work with Mr. Luria to determine how long

2      Mr. Luria's services would be needed by the debtors, because

3      it is expensive at $50,000 a week with limited resources

4      available to the debtors.         So I would expect that as soon as

5      Mr. Luria's work is done and could be picked up by a

6      liquidating trustee that his services would be concluded.

7                    I'm going to reserve a ruling on appointing the

8      Subchapter V trustee as the liquidating trustee because I've

9      appointed a member committee and that member committee should

10     have some say in that.        So I'm going to wait on that issue

11     until the member committee can have an opportunity to weigh

12     in.

13                   At this point, I haven't seen the retention, as

14     it's been revised, Mr. Rose, for Mr. Luria giving him the

15     full powers to direct the debtors, so I would like to see an

16     order that gives Mr. Luria that power and that he cannot be

17     removed without permission of the Court --

18                   MR. ROSE:     Yes, Your Honor.

19                   THE COURT:     -- and I want to put that into a form

20     of order.

21                   MR. ROSE:     Yes, Your Honor.

22                   THE COURT:     So, with that, we need to schedule

23     another hearing.       And, as I said, I want to do this --

24     probably do this before the end of the month, given Ms.

25     Sierra's belief that she might be able to get a committee
     Case 22-60043
          Case 21-11001-JTD
                    Document 104-3
                              Doc 130
                                    FiledFiled
                                          in TXSB
                                               08/10/21
                                                   on 08/25/22
                                                         Page 64Page
                                                                 of 669 of 10
                                                                                64


1      appointed within a week.         Let's set a hearing for Monday,

2      August 30th, at 10:00 a.m.         That gives us three -- yes, three

3      weeks from now.      That will give Ms. Miller time to at least

4      get some of her investigation underway and I would expect a

5      full report on where that investigation is, whether or not

6      the employees are needed, and all the other issues that I

7      laid out.     And I would ask the parties to confer and come up

8      with a form of order.

9                    MR. ROSE:     Thank you, Your Honor.

10                   MR. MCGUIRE:      Your Honor, Matthew McGuire of

11     Landis Rath & Cobb on behalf of the debtors.              With respect to

12     the order expanding Mr. Luria's powers or ensuring that he

13     can't be removed without permission of the Court, I guess I

14     would just suggest that we could add provisions to the SOLIC

15     retention order, which I don't believe are now contested and

16     that we can work that language into that retention order and

17     submit that under a certification of counsel after conferring

18     with Ms. Sierra and the Subchapter V trustee.

19                   THE COURT:     Yes, that's fine.       Thank you.

20                   All right, anything else for today?

21                   MR. MCGUIRE:      Your Honor, it's Matthew McGuire

22     again.    Your Honor, we did have a number of other items on

23     the agenda, believe it or not.          A vast majority of those

24     orders were submitted under a certification of counsel.                  I'm

25     not sure if Your Honor wants to walk through those or has had
 Case 22-60043
       Case 21-11001-JTD
                Document 104-3
                          Doc 130
                               FiledFiled
                                     in TXSB
                                          08/10/21
                                              on 08/25/22
                                                     Page 66
                                                           Page
                                                             of 66
                                                                 10 of 10
                                                                            66


1                                  CERTIFICATE

2

3          We certify that the foregoing is a correct transcript
4    from the electronic sound recording of the proceedings in the
5
     above-entitled matter.
6
     /s/Mary Zajaczkowski                      August 9, 2021
7    Mary Zajaczkowski, CET**D-531
8    /s/William J. Garling                     August 9, 2021
     William J. Garling, CE/T 543
9

10   /s/ Tracey J. Williams                    August 9, 2021
     Tracey J. Williams, CET-914
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